




















NO. 07-09-0171-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL C

&nbsp;

&nbsp;DECEMBER 10, 2010



&nbsp;

&nbsp;



&nbsp;

&nbsp;

KEVIN CECIL MAEDA, APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



&nbsp;

&nbsp;



&nbsp;

&nbsp;FROM THE 47TH DISTRICT
COURT OF RANDALL COUNTY;

&nbsp;

NO. 19,955-A; HONORABLE HAL MINER, JUDGE



&nbsp;

&nbsp;



&nbsp;

Before QUINN, C.J., and HANCOCK and
PIRTLE, JJ.

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant, Kevin
Cecil Maeda, was convicted by a jury of possession of a controlled substance
(methamphetamine) in an amount of less than one gram[1] and sentenced to two years
confinement in a state jail facility.&nbsp; On
appeal, he asserts the evidence was legally and factually insufficient.&nbsp; We affirm.&nbsp;
&nbsp;

Background

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On August
20, 2008, a Randall County Grand Jury indicted Appellant for intentionally and
knowingly possessing a controlled substance, methamphetamine, in an amount by
aggregate weight, including any adulterants and dilutants, of less than one
gram.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; At trial, Deputy Marcus Woods of the
Randall County Sheriff's Office testified that, in the early morning hours of
May 12, 2008, he spotted Appellant and Jimmy Flores sitting in Appellant's
pickup parked at an Amarillo chipping site.&nbsp;
When Deputy Woods approached Appellant, he was overwhelmed by the odor
of marijuana coming from inside the pickup's cab.&nbsp; He observed Appellant's eyes were very red
and his speech was slurred.&nbsp; Deputy Woods
asked Appellant if there was anything illegal in the pickup.&nbsp; Appellant pulled the ashtray from the
dashboard, handed it to Deputy Woods through the driver's side window, and told
the Deputy he had marijuana.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Deputy Woods asked Appellant to exit
the pickup and, as he came out, a glass pipe fell out of his lap onto the
ground.&nbsp; Deputy Woods identified the pipe
as the type of pipe used to smoke methamphetamine.[2]&nbsp; He handcuffed Appellant and searched his
pockets where he found a cigarette box containing regular cigarettes and a
rolled marijuana cigarette.&nbsp; He then
placed Appellant in the backseat of his patrol car.&nbsp; Deputy Levi Randall, a deputy-in-training who
accompanied Deputy Woods, searched Flores and found nothing illegal on his
person.&nbsp; Deputy Randall escorted Flores
to the backseat of the patrol car where the two men were advised of their Miranda rights.[3]

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; During questioning, Appellant
indicated there was more marijuana in the pickup.&nbsp; After Deputy Woods removed Appellant from the
patrol car to assist him in locating the marijuana, Deputy Randall discovered a
crushed blue pill where Appellant had been sitting.&nbsp; When Deputy Randall found the pill, Flores
told him that they should be concerned for Appellant's welfare.&nbsp; Appellant was subsequently taken to a
hospital where he was examined in the emergency room. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; When Deputy Woods searched
Appellant's pickup, he found some blue pills, later identified as Xanax, in an
empty cigarette box on the passenger's side of the pickup and marijuana in the glove
compartment.&nbsp; In the console, accessible
to Appellant and Flores, he discovered a plastic baggie containing what was
later identified as .04 gram of methamphetamine.[4]&nbsp; At the scene, neither Appellant nor Flores
would identify who owned the methamphetamine.&nbsp;
Both men were placed under arrest.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Jimmy Flores, Appellant's best
friend for fifteen years, testified for the defense.&nbsp; He testified that Appellant operated a
landscaping business that specialized in tree trimming.&nbsp; He also testified that Appellant owned the
pickup they were sitting in at the chipping site and normally drove the truck
in connection with his work.&nbsp; The day
before the two men were arrested at the chipping site, Flores testified they
had driven from Amarillo to Pampa, Texas, with four climbers and three grounds men
where they completed three to four jobs.&nbsp;
Flores testified that Appellant drove his truck and his employees shared
two other trucks.&nbsp; He testified that he
and Appellant had smoked three or four marijuana cigarettes that day and
Appellant told him he had taken a Xanax pill.&nbsp;
He did not see Appellant use any methamphetamine.&nbsp;&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Flores testified that early the next
morning he and Appellant were at the Amarillo chipping site to drop off some
limbs.&nbsp; They had been smoking marijuana
for about five minutes when the deputies arrived.&nbsp; He testified the pickup they were sitting in
had been driven by four or five others the day before while they were
working.&nbsp; He also testified that the Xanax
pills and methamphetamine were not his drugs.&nbsp;
He further denied ownership of the pipe which he testified was used to
smoke methamphetamine or crack cocaine.&nbsp;
He opined that the pipe was not suitable for smoking marijuana.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; At the conclusion of the testimony,
Appellant was found guilty by the jury of possessing less than one gram of
methamphetamine and sentenced to two years confinement.&nbsp; This appeal followed.

Discussion

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; As an
initial consideration, we note that Appellant contends the evidence is both
legally and factually insufficient to establish that he exercised care, custody
and control of the methamphetamine in question.&nbsp;
After briefs were filed by both parties, the Court of Criminal Appeals held
that the only standard a reviewing court should apply in determining whether
the evidence in a criminal proceeding is sufficient to support each element of
the offense beyond a reasonable doubt is the legal sufficiency standard set
forth in Jackson v. Virginia.[5]&nbsp; Brooks v. State, No. PD-0210-09, 2010 Tex.
Crim. App. LEXIS 1240, at *2 (Tex.Crim.App. Oct. 6, 2010).[6]&nbsp; Accordingly, we need not address Appellant's
challenge to the factual sufficiency of the evidence.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; I.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Standard of Review

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;In assessing the sufficiency of the evidence
to support a criminal conviction under the standard enunciated in Jackson, this Court considers all the
evidence in a light most favorable to the verdict and determines whether, based
on that evidence and reasonable inferences to be drawn therefrom, a rational
trier of fact could have found the essential elements of the crime beyond a
reasonable doubt.&nbsp; Jackson v. Virginia, 443 U.S. 307, 319,
33 S.Ct. 2781, 61 L.Ed.2d 560 (1979).&nbsp;
See also Brooks, 2010 Tex.
Crim. App. LEXIS 1240, at *14.&nbsp; When
conducting such a review, this Court is required to defer to the jury's role as
the sole judge of credibility of the witness and the weight to be given their
testimony.&nbsp; Id. at *15.&nbsp; See Dewberry
v. State, 4 S.W.3d 735, 740 (Tex.Crim.App.
1999).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Furthermore, to establish legal
sufficiency, "[e]ach fact need not point directly and independently to the
guilt of the defendant, as long as the cumulative force of the incriminating
circumstances is sufficient to support the conviction."&nbsp; Hooper v. State, 214 S.W.3d 9, 13 (Tex.Crim.App. 2007).&nbsp; If, however, a rational jury would
necessarily entertain a reasonable doubt as to the defendant's guilt after
considering all the evidence, due process requires that we reverse and render a
judgment of acquittal.&nbsp; Swearingen v. State, 101 S.W.3d 89, 95
(Tex.Crim.App. 2003) (citing Narvaiz v.
State, 840 S.W.2d 415, 423 (Tex.Crim.App. 1992), cert. denied, 507 U.S. 975, 113 S.Ct. 1422, 122 L.Ed.2d 791 (1993)).&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; II.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Applicable Law

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; To support the verdict rendered in
this case, the State was required to prove that Appellant knowingly possessed a
controlled substance, to-wit:&nbsp;
methamphetamine, in an amount of less than one gram.&nbsp; To prove possession,
the State was required to show that Appellant (1) exercised "actual care,
custody, control, or management" of the substance and (2) knew the matter
possessed was contraband.&nbsp; See § 481.115(b).&nbsp; See
also Tex. Penal Code § 1.07(39) (West Supp. 2010); Poindexter v. State, 153 S.W.3d 402, 405-06 (Tex.Crim.App.
2005).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Where, as here, the accused does not
have actual possession of the controlled substance or exclusive possession of
the locale where the controlled substance was found, it cannot be concluded or
presumed that the accused had possession over the contraband unless there are
independent facts or circumstances that tend to connect or link[7] the accused to the knowing
possession of the contraband.&nbsp; Poindexter, 153 S.W.3d at
406; Evans v. State, 202 S.W.3d 158,
161-62 (Tex.Crim.App. 2006).

Numerous nonexclusive factors have been recognized
as contributing to an evaluation of whether an accused is linked to the
contraband.&nbsp; See Triplett v. State, 292 S.W.3d 205, 208 (Tex.App.--Amarillo
2009, pet. ref'd).&nbsp; Those links include, but are not
limited to: (1) whether the contraband was in plain view or recovered from an
enclosed place; (2) whether the defendant was the owner of the premises or had
the right to possess or control the place where the contraband was found; (3)
whether the defendant was found in possession of a large amount of cash; (4)
whether the contraband was conveniently accessible to the defendant; (5)
whether the contraband was found in close proximity to the defendant; (6)
whether an odor of contraband was present; (7) whether the defendant possessed
other contraband when arrested; (8) whether the defendant possessed
paraphernalia to use the contraband; (9) whether paraphernalia to use the
contraband was available to or in plain view of the defendant; (10) whether the
physical condition of the defendant indicated recent consumption of the
contraband in question; (11) whether conduct by the defendant indicated a
consciousness of guilt; (12) whether the defendant made any incriminating
statements when arrested; (13) whether the defendant attempted to flee; (14)
whether the defendant made furtive gestures; (15) whether the defendant had a
special connection to the contraband; (16) whether the persons present gave
conflicting statements about relevant matters; (17) the quantity of the contraband
discovered; (18) whether the defendant was armed; (19) whether the defendant
was observed in a suspicious place under suspicious circumstances; (20) whether
the accused was familiar or had previous experience with drugs; and, (21)
whether any forensic evidence (e.g., fingerprints, DNA, etc.) connects the
defendant to the contraband or its container.&nbsp;
See Evans, 202 S.W.3d at 162 n.12.&nbsp; See also Triplett, 292 S.W.3d at 209; Figueroa v. State,
250 S.W.3d 490, 500 (Tex.App.--Austin 2008, pet. ref’d), cert. denied,
No. 08-7719, 2009 LEXIS 1276 (U.S. Tex. Feb. 23, 2009).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; There is no set formula that an
appellate court can use to determine if there are sufficient links to support
an inference of knowing possession of drugs.&nbsp;
Taylor v. State,
106 S.W.3d 827, 831 (Tex.App.--Dallas 2003, no pet.).&nbsp; Each case must be examined according to its
own facts on a case-by-case basis; Roberson
v. State, 80 S.W.3d 730, 736 (Tex.App.--Houston [1st Dist.] 2002, pet.
ref'd), and the number of links is not as important as the combined logical
force of all the evidence tending to link the accused to the contraband.&nbsp; Evans, 202 S.W.3d at 162, 166.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; III.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Analysis

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Viewing the
evidence in a light most favorable to the verdict, the evidence at trial showed
that at least seven links listed above were present.&nbsp; Appellant owned the pickup where the
contraband was found and had the right to possess or control its contents.&nbsp; He was also present when the search was
conducted, made incriminating statements when arrested, had other contraband in
his possession, possessed drug paraphernalia, and had been using drugs when he
was approached by Deputy Woods.&nbsp; Further,
the methamphetamine was found inside the pickup's interior console which was
conveniently accessible to Appellant, and a pipe, identified by three witnesses
as a type of pipe used to smoke methamphetamine, fell from his lap as he exited
the pickup.&nbsp; Furthermore, Flores
testified the pipe was not suitable for smoking marijuana and denied ownership
of the marijuana, Xanax pills, methamphetamine, and pipe.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This evidence sufficiently links
Appellant to the methamphetamine and establishes, to the requisite level of
confidence, that a rational trier of fact could have found the essential
elements of the crime beyond a reasonable doubt. &nbsp;Appellant's issue is overruled. 

Conclusion

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The trial
court’s judgment is affirmed.&nbsp;&nbsp; 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Patrick
A. Pirtle

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice&nbsp; 

&nbsp;

Do not publish.











[1]See Tex. Health &amp; Safety Code Ann. §
481.115(a), (b) (West 2010).&nbsp; Throughout
the remainder of this opinion, provisions of the Texas Health and Safety Code
will be cited as "section ____" and/or "§ ____." 





[2]Bruce
Evans, a crime scene technician and lab analyst for the Randall County
Sheriff's Office, also testified that, based on his experience, the pipe was of
the type used to smoke methamphetamine. 





[3]Miranda v. Arizona, 384
U.S. 436, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966).





[4]Roy
Murphy, manager of the Texas Department of Safety Regional Crime Laboratory,
identified the various substances found in Appellant's pickup and their
respective weight.





[5]Jackson v. Virginia, 443
U.S. 307, 335 S.Ct. 2781, 61 L.Ed.2d 560 (1979).





[6]Judge
Hervey delivered the Brooks opinion,
joined by Judges Keller, Keasler, and Cochran, and Judge Cochran delivered a
concurring opinion, joined by Judge Womack.&nbsp;
Brooks, 2010
Tex. Crim. App. LEXIS 1240, at *1, *59.&nbsp;
Although we are not bound by a
decision of four justices, Pearson v.
State, 994 S.W.2d 176, 177 n.3 (Tex.Crim.App. 1999), we read the combined
opinions of Judges Hervey and Cochran as abandoning factual sufficiency as an
evidentiary sufficiency standard of review distinct from legal sufficiency.





[7]The
Court of Criminal Appeals has recognized that the term "affirmative"
adds nothing to the plain meaning of "link" and now uses only the
word "link" to evaluate evidence of possession.&nbsp; Evans
v. State, 202 S.W.3d 158, 161 n.9 (Tex.Crim.App. 2006).&nbsp; A link is a fact or circumstance which
generates a reasonable inference that the defendant knew of the contraband's
existence and exercised control over it.&nbsp;
Lair v. State, 265 S.W.3d 580,
600 (Tex.App.--Houston [1st Dist.] 2008, pet. ref'd).&nbsp; The evidence demonstrating such links may be
direct or circumstantial.&nbsp; Brown v. State, 911
S.W.2d 744, 747 (Tex.Crim.App. 1995).&nbsp;








